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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-80619-CIV-DIMITROULEAS/SNOW


   FEDERAL TRADE COMMISSION,

                              Plaintiff,

                  vs.

   STRATEGIC STUDENT SOLUTIONS LLC, a
   limited liability company, STRATEGIC CREDIT
   SOLUTIONS LLC, a limited liability company,
   STRATEGIC DEBT SOLUTIONS LLC, a limited
   liability company, STRATEGIC DOC PREP
   SOLUTIONS LLC, a limited liability company,
   STUDENT RELIEF CENTER LLC, a limited
   liability company, CREDIT RELIEF CENTER
   LLC, a limited liability company, and
   DAVE GREEN, individually and as an officer of
   STRATEGIC STUDENT SOLUTIONS LLC,
   STRATEGIC CREDIT SOLUTIONS, LLC,
   STRATEGIC DEBT SOLUTIONS, LLC,
   STRATEGIC DOC PREP SOLUTIONS LLC,
   STUDENT RELIEF CENTER LLC, and CREDIT
   RELIEF CENTER LLC, and DG INVESTMENT
   PROPERTIES LLC,


                         Defendants.
   _________________________________________/


                              REPORT AND RECOMMENDATION
                  THIS CAUSE is before the Court on the Receiver's Final Status Report, Accounting,
   and Unopposed "Expedited" Motion to Approve (i) Wind Up the Receivership, (ii) Payment of

   Receiver's, Attorneys' and Accountants' Fees and Expenses From December 1, 2018 Through

   Present, (iii) Discharge of the Receiver's Bonds, (iv) Turnover of All Remaining Funds to the FTC,

   and (v) Discharge of Receiver from Any Further Duties (ECF No. 152), which was referred to United

   States Magistrate Judge, Lurana S. Snow, for a Report and Recommendation. The Motion is ripe

   for consideration.
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                  This is a consumer protection action brought by the Federal Trade Commission

   (FTC), based on allegations of fraud, against Defendant Dave Green and corporate entities in which

   he was involved. On May 15, 2017, this Court entered its Ex Parte Temporary Restraining Order

   With Asset Freeze, Appointment of a Temporary Receiver, And Other Equitable Relief, And Order

   To Show Cause Why A Preliminary Injunction Should Not Issue. (ECF No. 10) In that Order, the

   Court appointed Charles H. Lichtman as temporary receiver of the Corporate Defendants, and

   directed him to: assume full control of the Corporate Defendants; take exclusive custody, control and

   possession of assets and documents of the Corporate Defendants and preserve same; employ

   attorneys, accountants, appraisers and other independent contractors and technical specialists; make

   necessary payments; secure the locations where the Corporate Defendants operate; preserve websites

   operated by the Corporate Defendants; enter into contracts and purchase insurance as necessary;

   protect the interests of consumers who transacted business with the Corporate Defendants, and take

   on other related tasks, including the filing of reports with the Court. Id. at 16-20.

                  The Court scheduled a hearing for May 26, 2017, on the issue of whether a

   preliminary injunction should be entered. On that date, the parties stipulated to the entry of a

   preliminary injunction. Defendant Green has agreed to grant a first lien position to the receivership

   estate in his alleged homestead and to stipulate that more than twenty residential properties

   purchased with corporate money would come under the control of the Receiver. Approximately $2.1

   million in funds have been frozen and some of these funds have been placed in the control of the
   Receiver.

                  The Receiver now seeks final fees in the total amount of $145,190.00 for himself and

   attorneys from the Berger Singerman law firm who were engaged by the Receiver to assist in

   accomplishing the tasks enumerated in the TRO and the preliminary injunction, for the time period

   of December 1, 2018, through July 15, 2019. This represents a total of 321 hours of work, broken

   down as follows: 22.9 hours performed by the Receiver at the rate of $495.00 per hour (discounted

   from his usual rate of $695.00 per hour); 240.9 hours by Katherine Amador (partner) at the rate of

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   $485.00 per hour; 8.7 hours by Gavin Gaukroger (partner) at the hourly rate of $435.00; 5.4 hours

   by Phyllis Bean (of counsel) at the hourly rate of $575.00, and 43.1 hours by paralegals at the rate

   of $235.00 per hour. The Receiver also seeks costs in the amount of $19,375.23, and fees of the

   accounting firm of Fiske & Co. in the amount of $29,136.50 for 178.65 hours of work. The Receiver

   states that additional accounting work will be required in connection with the filing of corporate tax

   returns, and requests that $2,500.00 be held back to pay for this work.

                  In his Report, the Receiver describes in detail the tasks he and the attorneys performed

   to implement this Court's orders, including the sale of rental properties for approximately $1.9

   million. The Receiver also has filed detailed billing statements corresponding to the work performed

   by him and by the Berger Singerman attorneys, together with costs and accounting fees incurred.

   (ECF No. 152-1) The FTC has filed no objection to the fee application. After a review of the billing

   statements, together with the Receiver's summary of the amount of work performed, the undersigned

   finds that the hourly rates charged are reasonable and the hours expended were necessary to achieve

   the results outlined in the Receiver's Report.

                  The Receiver also seeks an order: (1) approving the Receiver's Final Report and

   Accounting; (2) approving and confirming all actions and activities taken by or on behalf of the

   Receiver and all payments made by the Receiver in connection with the administration of the

   Receivership Estate; (3) authorizing the Receiver to make payment of outstanding Receiver's and

   attorneys' fees and expenses, as well as accountants' fees; (4) permitting the destruction of all
   documents obtained by the Receiver, including purging electronically stored information, and

   authorizing the Receiver to donate to a charity or otherwise dispose of all personal property retained

   by the Receiver, including wiped computers; (5) directing that the Receiver, his agents, employees,

   attorneys, accountants, and representatives be discharged and relieved from all duties and

   responsibilities pertaining to the Receivership; (6) discharging the Receiver's bonds posted in this

   case; (7) deeming notice of the Final Report to be sufficient; (8) approving the retention of $2,500.00

   to pay the accountants for the completion of the tax work, and (9) approving the turnover of all

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   remaining receivership funds to the FTC, and the closing of the Receivership bank account after

   payment of all professional fees.1 The undersigned finds that the entry of this order is appropriate.

                                             CONCLUSION
                   This Court having considered carefully the pleadings, arguments of counsel, and the

   applicable case law, it is hereby

                   RECOMMENDED that Receiver's Unopposed "Expedited" Motion to Approve (i)

   Wind Up the Receivership, (ii) Payment of Receiver's, Attorneys' and Accountants' Fees and

   Expenses From December 1, 2018 Through Present, (iii) Discharge of the Receiver's Bonds, (iv)

   Turnover of All Remaining Funds to the FTC, and (v) Discharge of Receiver from Any Further

   Duties (ECF No. 152) be GRANTED, and that the Court enter an Order:

                   (1) approving the Receiver's Final Report and Accounting;

                   (2) approving and confirming all actions and activities taken by or on behalf of the

   Receiver and all payments made by the Receiver in connection with the administration of the

   Receivership Estate;

                   (3) authorizing the Receiver to make payment of outstanding Receiver's and attorneys'

   fees and expenses in the amount of $164,565.23, as well as accountants' fees in the amount of

   $29,136.50;

                   (4) permitting the destruction of all documents obtained by the Receiver, including

   purging electronically stored information, and authorizing the Receiver to donate to a charity or
   otherwise dispose of all personal property retained by the Receiver, including wiped computers;

                   (5) directing that the Receiver, his agents, employees, attorneys, accountants and

   representatives be discharged and relieved from all duties and responsibilities pertaining to the

   Receivership;


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            The receiver states that he holds the sum of $3,258,536.47. Therefore, after subtracting
   the Receiver and attorneys fees and costs of $164,565.23, the accountants' fees of $29,136.50 and
   the future accountants' fees of $2,500, the remaining amount to be turned over to the FTC is
   $3,062,334.74.
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                  (6) discharging the Receiver's bonds posted in this case;

                  (7) deeming notice of the Final Report to be sufficient;

                  (8) approving the retention of $2,500.00 to pay the accountants for the completion

   of the tax work, and

                  (9) approving the turnover of all remaining receivership funds to the FTC, and the

   closing of the Receivership bank account after payment of all professional fees.

                  The parties will have fourteen (14) days from the date of being served with a copy

   of this Report and Recommendation within which to file written objections, if any, with the

   Honorable William P. Dimitrouleas, United States District Judge. Failure to file objections timely

   shall bar the parties from a de novo determination by the District Judge of an issue covered in the

   Report and shall bar the parties from attacking on appeal unobjected-to factual and legal conclusions

   contained therein, except upon grounds of plain error if necessary in the interest of justice. See 28

   U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794

   (11th Cir. 1989); 11th Cir. R. 3-1.

                  DONE AND SUBMITTED at Fort Lauderdale, Florida, this 21st day of August,

   2019.




   Copies to:

   All Counsel of Record




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